Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 1 of 26 PageID #: 9




                                Exhibit
                               EXHIBIT
                               _________
                                   A
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 2 of 26 PageID #: 10
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 3 of 26 PageID #: 11
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 4 of 26 PageID #: 12
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 5 of 26 PageID #: 13
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 6 of 26 PageID #: 14
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 7 of 26 PageID #: 15
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 8 of 26 PageID #: 16
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 9 of 26 PageID #: 17
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 10 of 26 PageID #: 18
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 11 of 26 PageID #: 19
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 12 of 26 PageID #: 20
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 13 of 26 PageID #: 21
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 14 of 26 PageID #: 22
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 15 of 26 PageID #: 23
Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 16 of 26 PageID #: 24
      Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 17 of 26 PageID #: 25




                                      CAUSE NO. A190079-C

JOSEPH & BEVERLY RAYMER                                §      IN THE DISTRICT COURT OF
                                                       §
vs.                                                    §       ORANGE COUNTY, TEXAS
                                                       §
LIBERTY INSURANCE CORPORATION                          8       128th JUDICIAL DISTRICT


                   PLAINTIFFS' FIRST AMENDED ORIGINAL PETITION
                           AND REQUEST FOR DISCLOSURE


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES now JOSEPH and BEVERLY RAYMER ("Plaintiffs") and file this Plaintiffs'

First Amended Original Petition, complaining of LIBERTY INSURANCE CORPORATION

(previously incorrectly sued as Liberty Mutual Insurance Company), herein after referred to as

"LIBERTY INSURANCE" and for cause of action, Plaintiffs would respectfully show this

Honorable Court the following:

                                  DISCOVERY CONTROL PLAN

1.       Plaintiffs intend to conduct discovery on a Level III discovery plan and will file an agreed

scheduling order with the Court as soon as is reasonably practical.

                                              PARTIES

2.       Plaintiffs, JOSEPH and BEVERLY RAYMER, are individuals residing in Orange, Texas.

3.       Defendant LIBERTY INSURANCE CORPORATION is a foreign insurance company

engaged in the business of insurance in Texas. The causes of action asserted arose from or are

connected with purposeful acts committed by this defendant. This defendant has made an

appearance before the Court in this matter. This amended petition is being served on Defendant's
     Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 18 of 26 PageID #: 26



attorney of record in this cause, J. Mark Kressenberg and Edward C. Kiss, SHEEHY, WARE &

PAPPAS, P.C., 2500 Two Houston Center, 909 Fannin, Houston, TX 77010.

                                           JURISDICTION

4.      The court has jurisdiction over the cause of action because the amount in controversy is

within the jurisdictional limits of the court.

5.      The court has jurisdiction over Defendant LIBERTY INSURANCE because this defendant

is engaged in the business of insurance in the State of Texas and Plaintiffs' causes of action arise

from this defendant's business activities in the State of Texas.

                                                 VENUE

6.      Venue is proper in Orange County, Texas, because the insured property is situated in

Orange County, Texas (TEX.CIV. PRAC. & REM. CODE §15.032) and because all or a

substantial part of the events or omissions giving rise to the claim occurred in Orange County

(TEX.CIV. PRAC. & REM. CODE §15.002).

7.      Plaintiffs are seeking monetary relief over $45,000 but not more than $75,000. If

circumstances reveal otherwise, Plaintiffs will amend their petition to so reflect. Plaintiffs will

submit this case to the trier of fact for a fair, equitable and just amount of compensation.

                                                 NOTICE

8.      The Plaintiffs have met all notice requirements to the Defendant LIBERTY INSURANCE,

as required by the Texas Insurance Code.

                                FACTS AND CAUSES OF ACTION

9.      Plaintiffs are the owner of an insurance policy No. H37-298-109003-7077 (hereinafter

referred to as "the Policy"), which was issued by Defendant LIBERTY INSURANCE.
      Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 19 of 26 PageID #: 27



10.      Plaintiffs own the insured property, which is specifically located at 123 Amaryllis St.,

Orange, Texas 77630, Orange County, Texas, (hereinafter referred to as "the Property").

11.      Defendant LIBERTY INSURANCE sold the Policy, insuring the Property, to Plaintiffs.

12.      On or about August 25, 2017, in the late evening going into the early morning hours of

August 31, 2017, Hurricane Harvey struck Orange County, Texas, causing severe damage to homes

and businesses throughout the Gulf Coast Region of Texas, including Plaintiffs' property.

13.      As a result of the storm, Plaintiffs filed an insurance claim with LIBERTY INSURANCE

for the damages to their property caused by Hurricane Harvey covered under the Policy.

14.      Plaintiffs submitted a claim to LIBERTY INSURANCE under the Policy for all roof

damage, ceiling damage, wall damage, water and moisture damage, ductwork damage, wind

damage, and damage to the structure of the property sustained as a result of Hurricane Harvey.

15.      Plaintiffs asked that LIBERTY INSURANCE cover the cost of all repairs necessary to

restore her Property pursuant to the Policy. LIBERTY INSURANCE assigned Richard Ybarra

and Greg Mitchell, as the individual adjusters and/or claims handlers.

16.      As detailed herein below, LIBERTY INSURANCE wrongfully denied Plaintiffs' claim for

repairs of the Property, even though the Policy provided coverage for losses such as those suffered

by Plaintiffs. Additionally, LIBERTY INSURANCE continues to deny the payment of the

damages to the Property. As such, Plaintiff has not been paid in full for the damages to their

property. Plaintiffs' damages to their property are believed to be approximately $45,000.

17.      Defendant LIBERTY INSURANCE and its employee adjusters failed to perform their

contractual duties to adequately compensate Plaintiffs under the terms of the Policy. Specifically,

LIBERTY INSURANCE refused and continues to refuse to pay the proceeds under the Policy,

although due demand was made for proceeds to be paid in an amount sufficient to cover the
      Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 20 of 26 PageID #: 28



damaged property and all conditions precedent to recovery upon the Policy had been carried out

and accomplished by Plaintiffs. LIBERTY INSURANCE'S conduct constitutes a breach of the

insurance contract between LIBERTY INSURANCE and Plaintiffs.

18.      Defendant LIBERTY INSURANCE and its employee adjusters misrepresented to Plaintiffs

that the damage to the Property was not covered under the Policy, even though the damage was

caused by a covered occurrence. Defendant's conduct constitutes a violation of the Texas

Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(l).

19.      Defendant LIBERTY INSURANCE and its employee adjusters failed to make an attempt to

settle Plaintiffs' claim in a fair manner, although they were aware of their liability to Plaintiffs

under the Policy. Defendant's conduct constitutes a violation of the Texas Insurance Code, Unfair

Settlement Practices. TEX. INS. CODE. §541.060(a)(2)(A).

20.      Defendant LIBERTY INSURANCE and its employee adjusters failed to explain to Plaintiff

the reasons for their denial of their claim. Specifically, Defendant failed to offer Plaintiffs

adequate compensation, without a proper explanation why full payment was not being made.

Furthermore, Defendant did not communicate that any future settlements or payments would be

forthcoming to pay for the entire losses covered under the Policy, nor did they provide an adequate

explanation for the failure to adequately settle Plaintiffs' claim. Defendant's conduct is a violation

of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS. CODE §541.060(a)(3).

21.      Defendant LIBERTY INSURANCE refused to fully compensate Plaintiff, under the terms

of the Policy, even though Defendant failed to conduct a reasonable investigation. Specifically,

Defendant performed an outcome-oriented investigation of Plaintiffs' claim, which resulted in a

biased, unfair and inequitable evaluation of Plaintiffs' losses on the Property. Defendant's conduct

constitutes a violation of the Texas Insurance Code, Unfair Settlement Practices. TEX. INS.
      Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 21 of 26 PageID #: 29



CODE§541.060(a)(7).

22.      Defendant LIBERTY INSURANCE failed to meet its obligations under the Texas

Insurance Code regarding payment of claim without delay. Specifically, it has delayed full

payment of Plaintiffs' claim longer than allowed and, to date, Plaintiffs have not yet received full

payment for their claim. Defendant's conduct constitutes a violation of the Texas Insurance Code,

Prompt Payment of Claims, TEX.INS.CODE §542, Subchapter B (including Sections 542.055,

542.056, 542.058).

23.      From and after the time Plaintiffs' claim was presented to Defendant LIBERTY

INSURANCE the liability of Defendant to pay the full claim in accordance with the terms of the

Policy was reasonably clear had an adequate investigation been made. However, Defendant has

refused and continues to refuse to pay Plaintiffs in full, despite there being no basis whatsoever on

which a reasonable insurance company would have relied on to deny the full payment.

Defendant's conduct constitutes a breach of the common law duty of good faith and fair dealing.

24.      Defendant LIBERTY INSURANCE knowingly or recklessly made false representations, as

described above, as to material facts and/or knowingly concealed all or part of material information

from Plaintiffs.

25.      As a result of Defendant LIBERTY INSURANCE and its employee adjusters' wrongful

acts and omissions, Plaintiffs were forced to retain the professional services of the attorney and law

firm who is representing them with respect to these causes of action.

26.      Plaintiffs' experience regarding their claim with Defendant LIBERTY INSURANCE is not

an isolated case. The acts and omissions Defendant committed in this case, or similar acts and

omissions, occur with such frequency that they constitute a general business practice of Defendant
      Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 22 of 26 PageID #: 30




with regard to handling these types of claims. Defendant's entire process is unfairly designed to

reach favorable outcomes for the company at the expense of the policyholders.

27.      Defendant LIBERTY INSURANCE's conduct constitutes multiple violations of the Texas

Insurance Code, Unfair Settlement Practices. TEX.INS.CODE §541.060. All violations under this

article are made actionable by TEX.INS.CODE §541.151.

28.      The unfair settlement practices of Defendant LIBERTY INSURANCE and its employee

adjusters as described above, of failing to promptly provide Plaintiffs with a reasonable

explanation of the basis in the Policy, in relation to the facts or applicable law, for the offer of a

compromise settlement of Plaintiffs' claim, constitutes an unfair method of competition and an

unfair and deceptive act or practice in the business of insurance.

29.      Defendant is liable to Plaintiffs for common law fraud.

30.      Each and every one of the representations, as described above, concern material facts and

were relied upon by Plaintiffs to their detriment. Defendant LIBERTY INSURANCE and its

employee adjusters knew the representations were false or made recklessly without any knowledge

of their truth as a positive assertion.

31.      The statements were made with the intention that they should be acted upon by Plaintiffs,

who in turn acted in reliance upon the statements, thereby causing Plaintiffs to suffer injury and

constituting common law fraud.

32.      Defendant LIBERTY INSURANCE and its employee adjusters are liable to Plaintiffs for

conspiracy to commit fraud. Defendant LIBERTY INSURANCE and its employee adjusters were

a member of a combination of two or more persons whose object was to accomplish an unlawful

purpose or a lawful purpose by unlawful means. In reaching a meeting of the minds regarding the

course of action to be taken against Plaintiffs, Defendant LIBERTY INSURANCE and its
      Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 23 of 26 PageID #: 31




employee adjusters committed an unlawful, overt act to further the object or course of action.

Plaintiffs suffered injury as a proximate result.

33.      Defendant LIBERTY INSURANCE is liable to Plaintiffs for intentional breach of contract

as well as intentional violations of the Texas Insurance Code and intentional breach of good faith

and fair dealing.

34.      Defendant LIBERTY INSURANCE'S conduct constitutes a breach of the insurance

contract made between Defendant LIBERTY INSURANCE and Plaintiffs.

35.      Defendant LIBERTY INSURANCE'S failure and refusal, as described above, to pay the

adequate compensation as it is obligated to do under the terms of the Policy in question and under

the laws of the State of Texas, constitutes a breach of Defendant LIBERTY INSURANCE'S

insurance contract with Plaintiffs.

36.      Each of the acts described above, together and singularly, was done "knowingly" as that

term is used in the Texas Insurance Code and were a producing cause of Plaintiffs' damages

described herein.

37.      Plaintiffs would show that all the aforementioned acts, taken together or singularly,

constitute the producing causes of the damages sustained by Plaintiffs.

38.      LIBERTY INSURANCE is vicariously liable for the actions of its contractor engineers, EFI

Global, Inc.

39.      As previously mentioned, the damages caused by Hurricane Harvey rendered Plaintiffs'

property substantially damaged. Plaintiffs have attempted to mitigate their damages, but their

damages have not been properly addressed or repaired since the storm due to LIBERTY

INSURANCE'S failure to pay for the repairs, causing undue hardship and burden to Plaintiffs.
      Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 24 of 26 PageID #: 32



These damages are a direct result of Defendant LIBERTY INSURANCE'S mishandling of

Plaintiffs; claim in violation of the laws set forth above.

40.      For breach of contract, Plaintiffs is entitled to regain the benefit of her bargain, which is the

amount of their claim, together with attorney fees, penalties and interest.

41.      For noncompliance with the Texas Insurance Code, Unfair Settlement Practices, Plaintiffs

are entitled to actual damages, which include the loss of the benefits that should have been paid

pursuant to the Policy, mental anguish, court costs and attorney's fees. For knowing conduct of the

acts complained of, Plaintiffs asks for three times their actual damages.

42.      For noncompliance with Texas Insurance Code, Prompt Payment of Claims, Plaintiffs are

entitled to the amount of their claim, as well as ten (10%) percent interest per annum of the amount

of such claim as damages, together with attorney's fees.

43.      For breach of the common law duty of good faith and fair dealing, Plaintiffs are entitled to

compensatory damages, including all forms of loss resulting from the insurer's breach of duty, such

as additional costs, economic hardship, losses due to nonpayment of the amount the insurer owed,

exemplary damages and damages for emotional distress.

44.      For fraud, Plaintiffs are entitled to recover actual damages and exemplary damages for

knowing fraudulent and malicious representations, along with attorney's fees, interest and court

costs.

45.      For the prosecution and collection of this claim, Plaintiffs have been compelled to engage

the services of the attorney whose name is subscribed to this pleading. Therefore, Plaintiffs are

entitled to recover a sum for the reasonable and necessary services of Plaintiffs' attorney in the

preparation and trial of this action, including any appeals to the Court of Appeals and/or the

Supreme Court of Texas.
      Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 25 of 26 PageID #: 33



                                             Jury Demand

46.      Plaintiffs hereby request that all causes of actions alleged herein be tried before a jury

consisting of citizens residing in Orange County, Texas. Plaintiffs previously tendered the

appropriate jury fee.

                           REQUESTS FOR DISCLOSURE TO
                    DEFENDANT LIBERTY INSURANCE CORPORATION

47       Under Texas Rule of Civil Procedure 194, Plaintiffs request that Defendant

LIBERTY INSURANCE CORPORATION disclose within fifty (50) days of the service of

this request the information or material described in Rule 194.2 (a) - (1).

                                                PRAYER

         WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that Defendant LIBERTY

INSURANCE CORPORATION be cited to appear and answer, and upon trial hereof, Plaintiffs

have and recovers such sums as would reasonably and justly compensate Plaintiffs in accordance

with the rules of law and procedure, both as to actual damages, treble damages under the Texas

Insurance Code and all punitive and exemplary damages as may be found. In addition, Plaintiffs

request the award of attorney's fees for the trial and any appeal of this case, for all costs of court in

their behalf expended, for prejudgment and postjudgment interest as allowed by law, and for any

other and further relief, either at law or in equity, to which Plaintiffs may show themselves to be

justly entitled.
    Case 1:19-cv-00197 Document 1-1 Filed 04/23/19 Page 26 of 26 PageID #: 34



                                             Respectfully submitted,

                                             SMITH LAW FIRM, PLLC


                                                    John-Cash Smith
                                                    State Bar No. 18628000
                                                    Christopher S. Smith
                                                    State Bar No. 24002960
                                                    1 006 Green Avenue
                                                    Orange, TX 77630
                                                    (409) 886-7766
                                                     FAX (409) 886-7790



                                            ATTORNEY FOR PLAINTIFFS


                                 CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above foregoing instrument was  1
forwarded via e-filing pursuant to the Texas Rules of Civil Procedure on this the ^3 day of April,
2019, to the following counsel of record:

       J. Mark Kressenberg
       Edward C. Kiss
       SHEEHY, WARE & PAPPAS, P.C.
       2500 Two Houston Center
       909 Fannin
       Houston, TX 77010

                                            By_
                                                   John Cash Smith
